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                                                          U.S. Department of Justice

                                                          Criminal Division

                                                          Washington, D.C. 20530


VIA ELECTRONIC FILING                                    March 29, 2019

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, DC 20001

       Re:     United States v. All Assets, et al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

        The United States seeks clarification of the effect of this Court’s March 27, 2019, Order
regarding the timing and location of the deposition of Claimant Alexander Lazarenko. By
allowing Alexander Lazarenko time to attempt to obtain a visa to travel to the United States, 1 the
Court appears to have extended the deadline for fact discovery related to Claimants Alexander
Lazarenko, Ekaterina Lazarenko, and Lecia Lazarenko (the “A/E/L Claimants”) beyond the
current deadline of March 29, 2019. Dkt. No. 1120. Under the current scheduling order, after
the close of fact discovery related to the A/E/L Claimants, the time period to take expert
depositions opens on March 30, 2019 and closes on May 31, 2019. Id.

        As this Court is aware, the timing of expert depositions in this matter has been argued on
multiple occasions. The Court has consistently held that expert depositions should begin
following the conclusion of all fact discovery. See, e.g., Hearing Transcript (May 16, 2017), at
36 (“But with regard to the actual deposition of experts, it seems to me that the most efficient
way so we know that there will not be multiple depositions of a single expert, both now and then
following discovery of the Lazarenko children, that should follow a period of discovery with
regard to those claimants.”).

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  The Court also ordered the parties to cooperate in good faith to permit Alexander Lazarenko to file a
visa application. Dkt. No. 1135, at 2. The Court’s ruling was based on representations by counsel for
the A/E/L Claimants that Alexander Lazarenko needed a letter from the United States to apply for a visa.
That representation is inaccurate. As the United States informed counsel for the A/E/L Claimants on
March 28, 2019, in order to apply for a visa to the United States, Alexander Lazarenko must complete
the following steps: 1) pay the visa application fee; 2) complete the online application; 3) schedule an
appointment for an interview with a consular office at the U.S. Embassy in Kyiv, Ukraine; and 4) attend
an interview with a consular official at the U.S. Embassy in Kyiv, Ukraine. These steps are set forth
online at http://www.ustraveldocs.com/ua/ua-niv-typeb1b2.asp. Applicants are encouraged to bring
supporting documentation with them to the interview in Kyiv, Ukraine. Counsel for the United States
does not know if Alexander Lazarenko has taken any action to apply for a visa since the United States
noticed his deposition on February 22, 2019. Although counsel for Alexander Lazarenko has requested
that the Department of Justice provide a letter regarding his desire for a visa, we understand that such a
letter is not a prerequisite for initiating a visa application, nor is it required for obtaining a visa. We
understand that the Court has not directed the Executive Branch to take any particular action with regard
to its consideration of any visa application from Alexander Lazarenko.
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        The United States believes the Court’s logic remains sound. As a result, the United
States seeks clarification that the expansion of time period for fact discovery to resolve the date
and location of Alexander Lazarenko’s deposition has the subsequent effect of amending the
timeline for expert depositions in this matter and all subsequent case deadlines. This would
result in a scheduling order that sets the remaining deadlines for time periods based on the
ultimate date of Alexander Lazarenko’s deposition. Pursuant to Local Rule 7(m), the United
States contacted counsel for Pavel Lazarenko and counsel to the A/E/L Claimants in order to get
their views on this matter, but received no response from counsel for either party.



                                              Respectfully submitted,



                                              Adam J. Schwartz




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